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                                UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      PORTLAND DIVISION


    INDEX NEWSPAPERS LLC, a Washington                   Case No. 3:20-cv-1035-SI
    limited-liability company, dba PORTLAND
    MERCURY; DOUG BROWN; BRIAN
    CONLEY; MATHIEU LEWIS-ROLLAND;                       FOURTH JOINT STATUS REPORT
    KAT MAHONEY; SERGIO OLMOS;
    JOHN RUDOFF; ALEX MILAN TRACY;
    TUCK WOODSTOCK; JUSTIN YAU; and
    those similarly situated,

                  Plaintiffs,

           v.

    CITY OF PORTLAND, a municipal
    corporation; JOHN DOES 1-60, officers of
    Portland Police Bureau and other agencies
    working in concert; and JOHN DOES 61-200,
    federal agents,

                  Defendants.




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           Pursuant to this court’s order of January 15, 2025, (Dkt. 310), the parties submit this joint

    status report to update this court on the status of the parties’ intended settlement.

           Following some unanticipated delays owing to the City of Portland’s transition to a new

    form of government, the ordinance to accept the parties’ proposed settlement agreement is

    currently scheduled to be considered by the Portland City Council on March 5, 2025. That

    ordinance has been introduced as an emergency ordinance, which would make it effective

    immediately upon passage. The parties therefore respectfully request leave to submit a joint

    status report on or before March 7, 2025, to update this court on the status of their intended

    settlement.

           DATED: February 26, 2025


                                                            By: /s/ Denis M. Vannier
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                                                            Chief Deputy City Attorney
                                                            Of Attorneys for Defendant City of Portland

                                                            By: /s/ Matthew Borden [authorized signature]
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